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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

IN RE: Criminal Cases

     This matter is before the Court upon the Court's own motion:

     IT IS HEREBY ORDERED that government's exhibits in the case listed below
are to be returned to the United States Attorney for appropriate disposition.


     CASE NUMBER             CAPTION                              HEARING DATE

     4:01cr62        USA v. Eloy Moreno-Torres                    12/13/01
     8:01cr65        USA v. Danny Erdman                          08/02/01
     4:01cr148       USA v. Jeffrey Collins                       08/29/02
     8:01cr200       USA v. Clarence Nash &                       12/11/01
                            Rosalind Russell
     4:01cr216       USA v. Larry Moos, Jr.                       08/01/03
     4:01cr239       USA v. Luis Lopez-Ramires                    12/21/01
     4:01cr244       USA v. Eddie Johnson                         04/08/02
     4:01cr284       USA v. Jose Garcia-Guzman                    07/01/02
     4:01cr304       USA v. Michael Seacord                       03/18/02
     4:01cr309       USA v. Michael Chenier                       02/11/02
     4:01cr3009      USA v. Terry Christensen                     05/28/02
     4:01cr3012      USA v. David Malone                          07/31/01
     4:01cr3023      USA v. Charles Knapp                         11/16/01
     4:01cr3025      USA v. Ricardo Ibarra                        08/28/01
     4:01cr3026      USA v. Alejandro Garcia                      08/07/01
     4:01cr3031      USA v. Jessica Carabajal                     07/16/01
     4:01cr3034      USA v. Salvador Ortega                       5/7/01; 8/27/02
     4:01cr3034      USA v. Gerson Nungaray-Beltran               2/26/02
     4:01cr3035      USA v. Danny Kear                            06/19/01
     4:01cr3043      USA v. Mamadou Fofana                        11/27/01
     4:01cr3051      USA v. Robert Anderson                       09/14/01
     4:01cr3052      USA v. Jaime Quintana a/k/a                  6/8/01; 11/30/01
                            Melecio Salazar
     4:01cr3070      USA v. Clint Robinson                        05/24/02
     4:01cr3073      USA v. Manuel Murillo-Carillo                8/28/01; 1/23/02
     4:01cr3086      USA v. Isabel Delarosa-Beltran               06/05/02
     4:01cr3087      USA v. Hilario Favela-Ramirez                09/27/01
     4:01cr3087      USA v. Mariano Valles-Herrera                05/31/02
     4:01cr3105      USA v. Lisa Mann                             12/17/02
     4:01cr3110      USA v. Raul Longoria                         03/05/02
     4:01cr3122      USA v. Jose Figueroa                         09/19/02
     4:01cr3136      USA v. James Spath                           04/01/02
     4:02cr81        USA v. Melvin Samayoa                        07/30/02
     8:02cr277       USA v. Richard Vieyra                        06/08/05
     4:02cr3003      USA v. Esteban Lopez                         5/20/02; 5/22/02
     4:02cr3006      USA v. Douglas House and                     5/16/02; 1/2/03
                            Joyce House
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4:02cr3008      USA v. Salvador Galaviz-Luna                 11/19/02
4:02cr3016      USA v. David Bockman                         06/18/02
4:02cr3020      USA v. Rodrigo Rodriguez-Mendez              12/19/02
4:02cr3021      USA v. Juan Angulo-Guerrero                  04/03/02
4:02cr3222      USA v. Jose Villegas-Olivas                  05/27/03
4:02cr3022      USA v. Enrique Solano-Machuca                03/26/02
4:02cr3025      USA v. Kevin Cotton                          05/02/02
4:02cr3027      USA v. Mark Skoda                            08/27/02
4:02cr3033      USA v. Scott Miller Sr.                      06/10/02
4:02cr3035      USA v. Arna Gray                             06/06/02
4:02cr3044      USA v. Michael Horbatko                      07/10/03
4:02cr3047      USA v. Victor Wagner                         10/10/02


DATED this 10th day of February, 2006.



                                    BY THE COURT

                                    s/ RICHARD G. KOPF
                                    United States District Judge
